Case 2:12-md-02311-SFC-RSW ECF No. 2220, PageID.40092 Filed 07/11/22 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

   In re: AUTOMOTIVE PARTS                          12-md-02311
   ANTITRUST LITIGATION                             Honorable Sean F. Cox

   In Re: Occupant Safety Systems
          Lead Case                                 2:12-cv-00600
          Dealership Actions                        2:12-cv-00602
          End-Payor Actions                         2:12-cv-00603

   In Re: Automotive Hoses
          Lead Case                                 2:15-cv-03200
          Dealership Actions                        2:15-cv-03202
          End-Payor Actions                         2:15-cv-03203

   In Re: Automotive Brake Hoses
          Lead Case                                 2:16-cv-03600
          Dealership Actions                        2:16-cv-03602
          End-Payor Actions                         2:16-cv-03603


                  MOTION TO REMOVE MARK A. MILLER AS COUNSEL

          PLEASE TAKE NOTICE that Mark A. Miller is no longer affiliated with the law firm

   Baker Botts L.L.P., which represents Toyoda Gosei Co., Ltd., Toyoda Gosei North America

   Corp., TG Missouri Corp., TG Kentucky, LLC, and TG Fluid Systems USA Corp., (the “Toyoda

   Gosei Defendants”).      The undersigned counsel for the Toyoda Gosei Defendants therefore

   respectfully requests the Clerk of this Court to remove Mark A. Miller from the docket as counsel

   of record in the following actions:

         Master File No. 2:12-md-02311

         2:12-cv-00600

         2:12-cv-00602

         2:12-cv-00603

         2:15-cv-03200
Case 2:12-md-02311-SFC-RSW ECF No. 2220, PageID.40093 Filed 07/11/22 Page 2 of 3




         2:15-cv-03202

         2:15-cv-03203

         2:16-cv-03600

         2:16-cv-03602

         2:16-cv-03603

  The undersigned counsel also respectfully requests that Mark A. Miller’s name be removed from

  all applicable service lists, including Notices of Electronic Filing. All other counsel of record for

  the Toyoda Gosei Defendants remain unchanged.



  Dated: July 11, 2022                          Respectfully submitted,

                                                By: /s/ Sterling A. Marchand
                                                Sterling A. Marchand
                                                Baker Botts L.L.P.
                                                700 K Street, NW
                                                Washington, D.C. 20001
                                                Phone: 202.639.1113
                                                Fax: 202.508.9813
                                                sterling.marchand@bakerbotts.com

                                                Counsel for Defendants Toyoda Gosei Co., Ltd.,
                                                Toyoda Gosei North America Corp., TG Missouri
                                                Corp., TG Kentucky, LLC, and TG Fluid Systems
                                                USA Corp.
Case 2:12-md-02311-SFC-RSW ECF No. 2220, PageID.40094 Filed 07/11/22 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2022, a copy of the foregoing MOTION TO REMOVE

  MARK A. MILLER AS COUNSEL was filed electronically with the Court using the CM/ECF

  system which will send notification of such filing to all attorneys of record.

  Dated: July 11, 2022                          By: /s/ Sterling A. Marchand
